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ANSTEHAL SOzvzsz0l OCT 23 201

OCT 23 z2olZ
THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

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‘ Case: 1:11-cv- 03777 Document: #: 76 Filed: 10/23/12 Page 5 of i t PagelD #: 534

 

 

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Case: 1

 

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